
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a0149-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a1049-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a0419-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a0159-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0249-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0349-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0145-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0142-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2149-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0949-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0549-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1149-15.pdf (mistyped character)


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